Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 1 of 10




               Exhibit 10
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 2 of 10
Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          El Paso County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=p2&g=050XX00US48141&tid=DECENNIALPL2020.P2




data.census.gov | Measuring America's People, Places, and Economy                                          1
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 3 of 10
Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




data.census.gov | Measuring America's People, Places, and Economy                                                                                            2
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 4 of 10
Table: DECENNIALPL2020.P2


  Label                               El Paso County, Texas
Total:                              865,657
 Hispanic or Latino                 715,351
 Not Hispanic or Latino:            150,306
   Population of one race:          139,640
     White alone                    98,219

     Black or African American alone 24,415
     American Indian and Alaska
     Native alone                    2,365
     Asian alone                     10,692
     Native Hawaiian and Other
     Pacific Islander alone          1,527
     Some Other Race alone           2,422

   Population of two or more races: 10,666
    Population of two races:        9,874
      White; Black or African
      American                      2,517
      White; American Indian and
      Alaska Native                 1,919
      White; Asian                  2,377
      White; Native Hawaiian and
      Other Pacific Islander        200
      White; Some Other Race        1,470
      Black or African American;
      American Indian and Alaska
      Native                        306
      Black or African American;
      Asian                         354
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              93


data.census.gov | Measuring America's People, Places, and Economy                                  3
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 5 of 10
Table: DECENNIALPL2020.P2


  Label                                  El Paso County, Texas
      Black or African American;
      Some Other Race                307
      American Indian and Alaska
      Native; Asian                  11
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         6
      American Indian and Alaska
      Native; Some Other Race        28
      Asian; Native Hawaiian and
      Other Pacific Islander         256
      Asian; Some Other Race         29
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           1
     Population of three races:      707
      White; Black or African
      American; American Indian
      and Alaska Native              201
      White; Black or African
      American; Asian                148
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     11
      White; Black or African
      American; Some Other Race      56
      White; American Indian and
      Alaska Native; Asian           89
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       14


data.census.gov | Measuring America's People, Places, and Economy                                  4
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 6 of 10
Table: DECENNIALPL2020.P2


  Label                                  El Paso County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           33
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       89
      White; Asian; Some Other
      Race                           3
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     1
      Black or African American;
      American Indian and Alaska
      Native; Asian                  17
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         0
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        7
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         21
      Black or African American;
      Asian; Some Other Race         0
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           5




data.census.gov | Measuring America's People, Places, and Economy                                  5
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 7 of 10
Table: DECENNIALPL2020.P2


  Label                                  El Paso County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       3
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           3
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     6
     Population of four races:       78
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       52
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       0
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     12
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       2




data.census.gov | Measuring America's People, Places, and Economy                                  6
                              Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 8 of 10
Table: DECENNIALPL2020.P2


  Label                                El Paso County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         3
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              0
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     3
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   1
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    5
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         0




data.census.gov | Measuring America's People, Places, and Economy                                 7
                               Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 9 of 10
Table: DECENNIALPL2020.P2


  Label                                  El Paso County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       7
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               6
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                1
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


data.census.gov | Measuring America's People, Places, and Economy                                  8
                              Case 5:21-cv-00844-XR Document 748-11 Filed 09/02/23 Page 10 of 10
Table: DECENNIALPL2020.P2


  Label                                  El Paso County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of six races:        0
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0




data.census.gov | Measuring America's People, Places, and Economy                                  9
